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THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

MAHALA DUFFY,
P]aintiff,
v. C.A. NO. 16-711-RGA

DELAWARE STATE UNIVERSITY,

Defendant.

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I)EFENDANT’S REPLY BRIEF IN SUPPORT OF ITS M()TION TO DISMISS

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Dated: May 11, 2017

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INTRODUCTION

Plaintiff Mahaia Duffy (“Plaintiff”) brought this suit claiming that defendant Delaware
State University (“Delaware State”) discriminated against her during her employment on the
basis of her gender and religion. Delavvare State moved to dismiss for failure to state a claim
based on the running of the statute of limitations and untimely service of the Complaint and
Summons. In her Answering Brief, Plaintiff fails to provide this Court with any explanation as
to the reasons she failed to file suit Within 90 days of her receipt of the right to sue notice from
the EEOC or failed to timely serve Delaware State. Instead, Plaintiff asserts several arguments
in support of her late filing and late service Which are not supported by the facts or law.

First, Plaintiff represents that she received her right to sue notice on l\/lay 12, 2016,
despite her prior sworn statements under the penalty of perjury in her Complaint that she
received the right to sue notice on May 11, 2016. Next, she appears to argue that she complied
with the statutory requirement for filing by mailing her Complaint to the Court on August 10,
2016. However, even if the Court applied Plaintiff’ s mailing date as her filing date (Which is
contrary to Federal Rules), she still filed her Complaint on August 10, 2016, 91 days after her
receipt of the right to sue notice, Which Warrants dismissal Plaintiff also argues that she is
entitled to three additional days under Fed. R. Civ. P. (6)(d) to file suit, however, for the reasons
explained herein, this Rule is not applicable to this case; specifically, not applicable to the filing
of a Complaint. Further, her attempt to get three days on the front end and three days on the
back end of the 90 day time period, for a total of 96 days, has no Support in the procedural rules
or case law.

Finally, Plaintiff contends that she attempted to serve Delavvare State Within 90 days of
her receipt of USl\/,[ 285 forms, instead of the Complaint filing date, and therefore service Was
“reasonable” and “With the best intentions.” Notwithstanding, Plaintiff failed to properly serve

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the Coniplaint and Summons on Delaware State vvithin 90 days of the filing of the Complaint as
required under Fed. R. Civ. P. 4(111).
Based on the arguments as set forth herein and also in Delaware State’s Opening Brief in

support of its Motions to Dismiss, Plaintiff’s Complaint must be dismissed

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ARG UMENT

I. PLAINTIFF’S COMPLAINT IS TIME BARRED SINCE SHE FAILED TO FILE
SUIT WITHIN 90 DAYS OF HER RECEIPT OF THE EEOC RIGHT TO SUE
NOTICE.

A. Piaintiff Admitted In Hcr Complaint That She Received The Right To Sue
Notice On Mav 11, 2016.

ln her Answering Brief, Plaintiff argues that she was issued a “right to sue” letter from
the Equal Employment Opportunity Commission (“EEOC”) on l\/lay 12, 2016 and not on May
11, 2015 or May 11, 2016, as Delaware State cited in its Opening Brief. (An. Brf. p.l). Fur'ther,
Plaintiff inexplicably states that she did not refer to either May ll, 2015 or May 11, 2016 in her
Complaint. ([a’. ). This is simply not the case. ln fact, Plaintiff acknowledged that she received
the right to sue notice from the EEOC on the “11th of l\/lay 2015.” l (Comp. 11 9). Speciflcally,
in her U.S. District of Delaware Coniplaint For Discrimination, Plaintiff states, “The Equal
Employment Opportunity Commission issued the attached Notice-of-Right-to Sue letter which
was received by plaintiff on lllh, May, 2015.” (Comp. 11 9). Moreover, Plaintiff declared under
penalty of perjury that this date Was true and correct. (Comp.). Any attempt by Plaintiff to
misrepresent the date of her receipt of the right to sue notice at this time lacks credibility and
should be disregardedl

lt is undisputed that Plaintiff did not mail her Complaint to the Court until August 10,
2016, 91 days after her receipt of the c“right to sue letter” and that she did not file her Cornplaint
until August 12, 2016, 93 days after the issuance of the “right to sue” letter. (An. Brf. EX. A,

D.I. 2). Piaintiff should not be permitted to now change the facts of the case in order to

 

l As noted in its Opening Brief, Delaware State concedes that Plaintiff likely meant to
write 2016, not 2015 based upon the date of the EEOC’s right to sue notice which was l\/lay 9,
2016.

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circumvent the 90~day statutory requirements for filing suit under Title VII. (See 42 U.S.C.
§2000e-5(f)(1)). Accordingly, Plaintiff s action is untimely and must be dismissed.

B. The Mailing Of Plaintif'f’s Complaint To The Court Does Not Constitute A
Timelv Filing Of Her Complaint.

Plaintiff appears to argue that she complied with Title Vli’s 90 day statutory requirement
for filing suit by mailing her Complaint to the Court on August 10, 2016. (An. Brt`. p. 1).
However, pursuant to Fed. R. Civ. P. 5(d)(2), in order to file papers with the Court a litigant must
deliver it to the clerk or to a judge who agrees to accept lt for filing, and who must then note the
filing date on the paper and promptly send it to the clerk. Neither this rule nor any other rule
makes an exception for the date of mailing as a substitute for the actual date the paper was
delivered to the court or clerk.

Here, the Cierk noted Piaintit`l"s filing date for her Complaint as August 12, 2016 ~ the
date the Clerk received it which was three days after the August 9, 2016 filing deadline
Notably, the Clerk did not use the August 10, 2016 postmark date on Plaintiffs mailing
envelope. Further, arguably, even if the Court applied the date Plaintiff mailed the Complaint as
her filing date, she still mailed her Complaint on August 10, 91 days after receipt of the right to
sue notice, which warrants dismissal of her Complaint “The 90~day filing period acts as a
statute of limitation in Title Vli cases and cannot, in the absence of equitable considerations, be
extended even one day.” Montecalvo v. Trump's Taj Mahal Casino, 1997 WL 786985, at *1,
(E.D. Pa. Nov. 26, 1997) (citing Mosel v. Hi`lls Dep’t Stores, Inc., 789 F.2d 251, 253 (3d Cir.
1986); Hz'cks v. Arthu.r, 843 F. Supp. 949, 956 (E.D. Pa. 1994)). See also Moore v. Kennedy
Mem'l Hosp.-UMC, 1999 WL 143834, at *1 (D.N..T. Ian. 28, 1999) (disrnissing the complaint
because it was not received by the Clerk‘s Office until ninety-five days after she received notice

from the EEOC).

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C. Plaintiff Was Not Entitled To Threc (3) Additional Days Under Fed. R. Civ.
P. 6(d) To File Suit

Although it is not particularly clear, it appears that Plaintiff contends that under Fed. R.
Civ. P. 6(e) she has three added days after the filing deadline to file her Complaint because the
right to sue letter was mailed to her from the EEOC, (An. Brf. p.l). As an initial matter,
Plaintiff offers no excuse for her delay in filing. Further, Plaintiff’ s use of Fed. R. Civ. P. 6(d)
(formerly 6(e)) is misplaced She fails to provide any legal support for her apparent contention
that Fed. R. Civ. P. 6(d) applies to a mailing from the EEOC of a notice letter such that it would
afford her an extension of the statute of limitations for filing suit under Title Vll.

According to Fed. R. Civ. P. 6(d), when a party may or must act within a specified time
after being served and service is made under Rule 5(b)(2)(C) (mail), three days are added after
the period would otherwise expire. This rule is plainly inapposite to the present case. Rule 6(d)
applies only where a time period is measured from the date of service of a pleading by the other
party or court by mail, and allows a party so served additional time to respond, in order to
account for the time required for delivery of the mail. The Title Vll provision,2 in contrast,
requires that a complaint be filed within 90 days after the plaintiff actually receives notice of the
EEOC's decision. See Mosel v. Hz'l[s Dept. Store, Inc., 789 F.2d 251, 253 (3d Cir. 1986). An
additional period to compensate for her mailing time of the Complaint is irrelevant and

inappropriate for measuring any statute of limitations (Id.). Accordingly, Plaintiff is not

 

2 Section 2000e-5(f)(l) provides that if the EEOC dismisses a charge or takes no action within a
specified period of time it “shall so notify the person aggrieved and within ninety days after the
giving of such notice a civil action may be brought against the respondent named in the
charge. . ..” 42 U.S.C.A. § 2000e-5(f)(1). This provision has been construed liberally such that
the time for filing a complaint begins to run when the plaintiff has notice of the EEOC decision;
this usually occurs on the date he receives a right-to-sue letter. See Homsby v. Um`ted Sz‘ates
Posml Serv., 787 F.2d 87, 89-90 n.3 (3d Cir. 1986). Indeed, the EEOC's form right-to-sue letter
itself states that a plaintiff has 90 days after receiving the letter in which to file suit.

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entitled to a “3 day grace period after being served (service)”, as she suggests Simply put, she
filed her Complaint after the statute of limitations expired and therefore, her Complaint should
be dismissed

Notwithstanding the foregoing, if there is no evidence as to the actual date of the arrival
of the EEOC’s letter, it is presumed that the complainant received the right-to-sue letter three
days after the EEOC mailed it. DiCroce v. Norton, 218 F. App’x 171, 174 (3d Cir. 2007);
Seirzinger v. Reading Hosp. & Med. Cir., 165 F.3d 236, 239 (3d Cir. 1999) (citing Fed. R. Civ.
P. 6(e); Mosel v. Hl`lls Dep'f Store. Ir)c., 789 F.2d 251, 253 n.2 (3d Cir. 1986)); See also Bobbitt
v. Freema.n Cos., 268 F.3d 535, 538 (7th Cir. 2001) (“The law presumes timely delivery of a
properly addressed piece of mail.”). “{A]lthough Rule 6(e) does not automatically provide a
three-day extension to § 2000e-5(f)(l), it does provide a presumption of receipt three days after
mailing if the parties dispute the date of receipt.” Ish v. Arlington Cty. Virgi'nicz, 918 F.2d 955,
1990 WL l80127, at *1 (4th Cir. Nov. 21, 1990) (TABLE).

ln this matter, however, Plaintiffs sworn statement in her Complaint is that she received
the right to sue letter from the EEOC on l\/lay 11, 2016. (Comp. 7 9). Since Plaintiff has
admitted the actual date of her receipt of the EEOC’s right to sue notice, she is not entitled to a
presumption that she received the right to sue notice three days after the EEOC mailing date on
l\/lay 12, 2016. Accordingly, Plaintiff was required to file suit within 90 days of her actual date
of receipt which was on or before August 9, 2016. Plaintiffs Complaint, filed over 90 days after
receipt of the right-to-sue letter was therefore untimely, and she has failed to state any equitable
reason for disregarding the statutory requirement “While the 90~day rule is not a jurisdictional
predicate, ‘in the absence of a recognized equitable consideration, the court cannot extend the

limitations period by even one day.”’ Johnscn v. Al Tech Speciafties Sfeel Corp., 731 F.2d 143,

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146 (2d Cir. 1984) (quoting Rz`ce v. New England College, 676 F.2d 9, ll (1st Cir. 1982)).
Nonetheless, assuming arguendo, the Court was to accept Plaintiff s new receipt date of May 12,
2016J Plaintiff’s Complaint was filed August 12, 2016, which is still more than 90 days from the
May 12th date. Because Plaintiff did not timely tile suit and has provided no explanation for her
failure to do so, her Complaint must be dismissed

II. PLAINTIFF FAILED TO SERVE DELAWARE STATE WITH THE

COMPLAINT AND SUMMONS WTI`HIN 90 DAYS OF FILING HER
COMPLAINT.

ln her Answering Brief, Plaintiff argues that she attempted to serve Delaware State on
November 28, 2016 which was 90 days after she received the USM 285 forms from the Court.
(An. Brf. pp. 1-2). According to Plaintiff, but without any evidence in support, service was
“reasonable” and with “the best intentions.” (Id.).

Pursuant to Fed. R. Civ. P. 4(rn), a defendant must bc served within 90 days after the
complaint is filed, not 90 days after the plaintiffs receipt of the USM 285 forms from the Court.
Plaintifi”s failed attempt to serve Delaware State within 90 days after she received the USM 285
forms is not sufficient under the Rules. lt is undisputed that Plaintiff failed to serve the
Complaint and Summons on Delaware State within 90 days of filing her Complaint as required
by Fed. R. Civ. P, 4(m). 1n fact, Plaintiff did not serve Delaware State with the Complaint until
March 30, 2017, which was 230 days after the filing of the Complaint Accordingly, the Court

must dismiss the action without prejudice against Delaware State.

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CONCLUSION

Based on the foregoing, as well as the arguments set forth in Defendant’s Opening Brief
in support of its Motion to Dismiss, Plaintiff failed to serve Delaware State within 90 days of her
filing suit. Therefore, the Complaint must be dismissed However, assuming arguendo good
cause is shown for her delay in service, Plaintiff s Complaint is time barred as a matter of law
because she filed it late and therefore the Complaint must be dismissed with prejudice

Accordingly, Delaware State respectfully requests that the Court dismiss the Complaint with

prejudice

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CERTIFICATE OF SERVICE

l HEREBY CERTIFY that on this lllh day of l\/[ay, 2017, l electronically filed the
foregoing pleading with the Clerk of the Court using the CM/ECF system, and have sent the

foregoing, in the manner indicated, to the following:

VIA FIRST CLASS MAIL

l\/lahala Duff`y

104 Teal< Court

Dover, Delaware 19901
Pro se

/s/ Lori A. Brewz'ngton
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